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                                 UNITED STATES DISTRICT COURT
                                     DISTRICT OF COLORADO

    ISRAEL CALLER,
                                                         Case No.:

            Plaintiff,                                   F.R.C.P. No. 7.1 DISCLOSURE STATEMENT

    v.

    AKERNA CORP.,
    JESSICA BILLINGSLEY,
    BARRY FISHMAN,
    MATT KANE,
    TAHIRA REHMATULLAH,
    SCOTT SOZIO,

            Defendants.


          Pursuant to F.R.C.P. No. 7.1 plaintiff Israel Caller (“Plaintiff”) hereby states that there are

   no such parent corporations or other publicly held corporations that own 10% or more of its stock

   as the Plaintiff is an individual and not a corporation.



    Dated: May 23, 2023                              BRODSKY & SMITH, LLC

                                               By: /s/ Marc L. Ackerman
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